                            UNITED STATE BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


IN RE:
Karl Rogers                                    CASE NO: 17-52270 K
                                               Chapter 13


                   Debtor

                       NOTICE OF WITHDRAWAL OF TRUSTEE'S
   OBJECTION TO CLAIM FOR ARMY & AIR FORCE EXCHANGE SERVICES, COURT CLAIM #3,
                                     $3,577.82



NOW COMES, Mary K. Viegelahn, STANDING CHAPTER 13 TRUSTEE, FILES THIS HER NOTICE OF
WITHDRAWAL OF TRUSTEE’S OBJECTION TO CLAIM FOR ARMY & AIR FORCE EXCHANGE
SERVICES, COURT CLAIM #3, $3,577.82 AND STATES THAT HER OBJECTION TO CLAIM FOR
ARMY & AIR FORCE EXCHANGE SERVICES, COURT CLAIM #3, $3,577.82 HAS BEEN RESOLVED
AND IS THEREFORE, WITHDRAWN.


Date: 12/6/2017                   /s/
                                  MARY K. VIEGELAHN P42327 (MI)
                                  CHAPTER 13 TRUSTEE
                                  mviegelahn@sach13.com
                                  10500 Heritage Blvd, Ste. 201
                                  San Antonio, TX 78216
                                  (210) 824-1460 fax:(210) 824-1328
                                 UNITED STATE BANKRUPTCY COURT
                                    WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION


IN RE:                                                   CHAPTER 13
Karl Rogers
                                                         CASE NO.: 17-52270 K


                        Debtor

                                      CERTIFICATE OF SERVICE

I hereby certify that a copy of the attached document was served on the parties listed below by U.S. Mail
or served electronically through the Court’s ECF System at the e -mail address registered with the Court on
December 06, 2017.



Debtor(s):
Karl Rogers
P O Box 276600
San Antonio, TX 78227

UNITED STATES TRUSTEE                                UNITED STATES BANKRUPTCY COURT
P O BOX 1539                                         P O BOX 1439
SAN ANTONIO, TX. 78295-1539                          SAN ANTONIO, TX. 78295-1439

AND TO THE CREDITORS AND PARTIES IN INTEREST LISTED BELOW:

ARMY & AIR FORCE EXCHANGE SERVICES                   ARMY & AIR FORCE EXCHANGE SERVICES
BASS & ASSOCIATES                                    3911 S. WALTON WALKER BLVD.
3936 E FT LOWELL ROAD, SUITE 200                     ATTN:GC-G
TUCSON, AZ 85712                                     DALLAS, TX 75236


/S/
_________________________________
MARY K. VIEGELAHN
CHAPTER 13 TRUSTEE
